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 Counsel to Navillus Tile, Inc.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
 -----------------------------------------------------------------x
                                                                  :
In re:                                                            : Chapter 11
                                                                  :
NAVILLUS TILE, INC., DBA NAVILLUS                                 : Case No. 17-13162 (SHL)
CONTRACTING                                                       :
                                                                  :
                            Debtor.                               :
                                                                  :
------------------------------------------------------------------x

                               NOTICE OF WITHDRAWAL OF MOTION

         PLEASE TAKE NOTICE that Navillus Tile, Inc. hereby withdraws, without prejudice,

 the Application for Entry of an Order Expanding the Scope of the Retention and Employment of

 Teneo Capital LLC [Docket No. 475].



 Dated: Garden City, New York
        August 24, 2018
                                                                  CULLEN AND DYKMAN LLP


                                                                  By: s/ Elizabeth M. Aboulafia
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